                                       Case 6:16-cv-00970-RBD-TBS Document 81 Filed 05/21/18 Page 1 of 7 PageID 963




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                                   7
                                                                   UNITED STATES DISTRICT COURT
                                   8
                                                                    MIDDLE DISTRICT OF FLORIDA
                                   9
                                                                          ORLANDO DIVISION
                                  10

                                  11   UNITED STATES OF AMERICA, EX
                                       REL. BARBARA BERNIER;
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                                  12   BARBARA BERNIER; and, ESE LOVE,
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                                  13                 Plaintiffs,
                                                                                     Case No.: 6:16-cv-00970-RBD-TBS
                                  14          vs.
                                                                                     MEMORANDUM OF LAW IN
                                  15   INFILAW CORPORATION;                          OPPOSITION FOR MOTION FOR
                                       CHARLOTTE SCHOOL OF LAW, LLC;                 EXTENSION OF TIME
                                  16   AMERICAN BAR ASSOCIATION, D/B/A
                                       COUNCIL OF THE SECTION OF LEGAL
                                  17   EDUCATION AND ADMISSIONS TO
                                       THE BAR; AMERICAN BAR
                                  18   ASSOCIATION, D/B/A
                                       ACCREDITATION COMMITTEE OF
                                  19   THE SECTION OF LEGAL EDUCATION
                                       AND ADMISSION TO THE BAR,
                                  20
                                                     Defendants.
                                  21

                                  22

                                  23          Plaintiffs, BARBARA BERNIER and ESE LOVE, pursuant to M.D. Fla. R. 3.01(b),

                                  24   respond to the motion for extension of time served by Defendants, INFILAW CORPORATION

                                  25   and CHARLOTTE SCHOOL OF LAW, LLC, and state as follows:

                                  26          1.     Bernier initially filed suit, under seal, in June 2016 because she commenced this

                                  27   action under the qui tam provision of the federal False Claims Act (the “FCA”), 31 U.S.C. §

                                  28   3729, et seq. See Doc. 1.

                                       MEMORANDUM OF LAW IN OPPOSITION FOR MOTION FOR EXTENSION OF TIME-1
                                       Case No.: 6:16-cv-00970-RBD-TBS
                                       Case 6:16-cv-00970-RBD-TBS Document 81 Filed 05/21/18 Page 2 of 7 PageID 964




                                   1           2.     In the course of the proceedings, Bernier filed a first amended complaint, Doc. 48,

                                   2   and Defendants moved to dismiss same, Doc. 53.

                                   3           3.     Ultimately, the court dismissed the amended complaint and granted leave to re-

                                   4   plead and file a second amended complaint. Doc. 71 at 20.

                                   5           4.     Bernier filed the second amended complaint, Doc. 73, as directed by the court.

                                   6   Significantly, the second amended complaint narrows the qui tam claims against Defendants for

                                   7   all the reasons reflected in the court’s order, Doc. 71, dismissing the amended complaint.

                                   8           5.     The second amended complaint also added count IV (gross negligence) and count

                                   9   V (fraudulent inducement) against Defendants.1 Doc. 73 at 24–26.

                                  10           6.     Defendants’ requested extension is based on five reasons.

                                  11           7.     First, Defendants seek an extension of time to “address the addition of several
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                                  12   new parties” to this action. Doc. 78 at 2.
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                                                      Second, Defendants’ request for an extension of time is based on the alleged need
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                                  13           8.

                                  14   for additional time to address the “new claims.” Id.

                                  15           9.     Third, Defendants’ extension request is based on the notion that the court should

                                  16   grant the motion so that the deadline can be co-extensive with that of the American Bar

                                  17   Association (the “ABA”), whom has not appeared in this case and, by extension, has not sought

                                  18   any extension from this court. See Doc. 78 at 2.

                                  19           10.    Fourth, Defendants also urge the court to enter the requested extension on the

                                  20   basis that two other qui tam cases have recently been unsealed and that “new briefing” is now

                                  21   allegedly required on the first-to-file bar in this action. Id. at 3.

                                  22           11.    And Fifth, Defendants seek the requested extension on the basis of personal

                                  23   vacations and commitments by counsel to other matters. Id.

                                  24           12.    In consideration of these reasons, the undersigned already offered Defendants an

                                  25   extended deadline of May 30, 2018, id., which Defendants rejected by virtue of filing the motion

                                  26   for extension of time.

                                  27
                                       1
                                        The second amended complaint also added count III for negligence, which is not alleged
                                  28   against Defendants. Doc. 73 at 21–23.
                                       MEMORANDUM OF LAW IN OPPOSITION FOR MOTION FOR EXTENSION OF TIME-2
                                       Case No.: 6:16-cv-00970-RBD-TBS
                                       Case 6:16-cv-00970-RBD-TBS Document 81 Filed 05/21/18 Page 3 of 7 PageID 965




                                   1          13.     In actions where an amended pleading is filed, a party then has 14 days to respond

                                   2   to the pleading. See Fed. R. Civ. P. 15(a)(3). The federal rules authorize this court to enter an

                                   3   extended deadline for good cause if the movant, as here, requests an extension before the

                                   4   deadline expires. See Fed. R. Civ. P. 6(b). “Good cause” is a standard that is found in many of

                                   5   the federal rules; nonetheless, what all rules share in common is that to demonstrate “good

                                   6   cause,” a party must show that despite his diligence, the initial deadline cannot be met. See, e.g.,

                                   7   Sosa v. Airprint Sys., Inc., 133 F.3d 1417, 1418 (11th Cir. 1998). “A finding of lack of diligence

                                   8   on the part of the party seeking modification ends the good cause inquiry.” Freedman v.

                                   9   Suntrust Banks, Inc., 6:15-CV1657ORL41TBS, 2016 WL 3196464, at *2 (M.D. Fla. June 9,

                                  10   2016) (external citations omitted) (Smith, J.).

                                  11                                               New Parties
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                                  12          14.     There is no justification for an extension of time on the basis of additional parties
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                                  13   to this action. The second amended complaint added Bernier to this suit as a plaintiff on the

                                  14   non-qui tam claims. See generally Doc. 73. Given that Defendants have, no doubt, been aware

                                  15   of Bernier since August 2017, it is not clear what additional time is needed as to Bernier. The

                                  16   second amended complaint also added Ese Love as a plaintiff, whom Bernier previously

                                  17   disclosed to Defendants on November 30, 2017 as a fact witness in this case and who Bernier

                                  18   also identified in the amended complaint, Doc. 48 at 14. Ironically, counts IV and V the second

                                  19   amended complaint show that Love has no claim against Defendants. See Doc. 73 at 24–26. So,

                                  20   it is not clear why any additional time is needed as to Love when Defendants are not implicated

                                  21   by her only claim, count III, which is not made against Defendants.

                                  22                                               New Claims

                                  23          15.     There is little, if any, justification for additional time to examine the additional

                                  24   two claims against Defendants. With respect to the claim for gross negligence, the claim is

                                  25   based on practically all of the same general allegations that have been known to Defendants

                                  26   since the court lifted the seal on the initial complaint in August 2017. See Doc. 16. In fact, there

                                  27   are no new factual allegations that embrace the gross negligence claim. See Doc. 73 at 24–25.

                                  28   The fraudulent inducement claim also arises from the same nucleus of facts that have been at

                                       MEMORANDUM OF LAW IN OPPOSITION FOR MOTION FOR EXTENSION OF TIME-3
                                       Case No.: 6:16-cv-00970-RBD-TBS
                                       Case 6:16-cv-00970-RBD-TBS Document 81 Filed 05/21/18 Page 4 of 7 PageID 966




                                   1   issue since Bernier served Defendants with the initial complaint in August 2017. Docs. 22, 23.

                                   2   In any event, any new allegations contained within the nine paragraphs of the fraudulent

                                   3   inducement claim can be addressed in the additional nine days of time that Plaintiffs have

                                   4   already offered to Defendants.

                                   5                                  Co-Extensive Deadline with the ABA

                                   6           16.     Defendants request based on what the ABA might seek from this court is no basis

                                   7   for a Rule 6 extension. Count III of the second amended complaint is distinct from the claims

                                   8   against Defendants and Defendants do not face potential liability under count III. Defendants do

                                   9   not explain to this court why their efforts to respond to the second amended complaint have

                                  10   anything to do with the ABA; indeed, the request based on the ABA appears to be a request

                                  11   merely for convenience. This does not evince good cause.
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                                  12                                           Other Qui Tam Cases
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                                                      The relator in one of the other qui tam cases, O’Connor, already voluntarily
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                                  13           17.

                                  14   dismissed the qui tam complaint in that action. Thus, it is clear that the first-to-file bar cannot be

                                  15   implicated when a case is no longer co-pending. See Kellogg Brown & Root Services, Inc. v.

                                  16   U.S., ex rel. Carter, 135 S. Ct. 1970, 1979 (2015) (“The False Claims Act’s qui tam provisions

                                  17   present many interpretive challenges, and it is beyond our ability in this case to make them

                                  18   operate together smoothly like a finely tuned machine. We hold that a qui tam suit under the

                                  19   FCA ceases to be ‘pending’ once it is dismissed.”) (emphasis added). What is more, Defendants

                                  20   have ostensibly known about any potential issues with the O’Connor case as of April 9, 2018

                                  21   because Defendants filed a motion for leave to supplement the motion to dismiss briefing based

                                  22   on the O’Connor case. See Doc. 69 at 2. Defendants offer no explanation as to how continued

                                  23   diligence on an issue raised more than a month ago somehow prevents them from meeting an

                                  24   impending deadline.

                                  25           18.    With respect to the Lorona case, it was unsealed on April 24, 2018. The

                                  26   allegations in Lorona do not overlap with the allegations in this case that survived dismissal.

                                  27   Either the first-to-file bar is implicated by the complaints in both cases, or it is not. It is not clear

                                  28   why an additional 56 days of time is needed in this case to simply compare the allegations in

                                       MEMORANDUM OF LAW IN OPPOSITION FOR MOTION FOR EXTENSION OF TIME-4
                                       Case No.: 6:16-cv-00970-RBD-TBS
                                       Case 6:16-cv-00970-RBD-TBS Document 81 Filed 05/21/18 Page 5 of 7 PageID 967




                                   1   both actions. There is no good cause for the extension in this case based on the two other qui

                                   2   tam cases, one of which is no longer pending.

                                   3                              Personal Vacations and Other Commitments

                                   4           19.    Defendants provided no context to personal vacations and commitments to other

                                   5   legal matters other than to request an extension up to and including June 22, 2018. See Doc. 78-

                                   6   1 at 2. Based on the motion, it appears that at least one of the three attorneys who have appeared

                                   7   for Defendants will be returning from vacation Memorial Day weekend. Doc. 78 at 3, n.1.

                                   8   There is no indication as to what commitments counsel has to other legal matters. All attorneys

                                   9   are busy, and it makes it difficult to agree to an incredibly long extension if there is little

                                  10   explanation as to why such amount of time is needed. For example, counsel does not indicate

                                  11   that there is an overlapping trial or series of depositions in any other case. From the allegations
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                                  12   in the motion, the court cannot discern whether counsel could or could not meet the extended
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                                  13   deadline offered due to personal vacations and other commitments.

                                  14           20.    Simply put, the motion makes no effort to explain why, despite diligence,

                                  15   Defendants are unable to meet the extended deadline of May 30, 2018 offered by Plaintiffs.

                                  16   Noticeably, there is no argument anywhere in the motion that speaks to diligence. This alone

                                  17   should be fatal to the requested extension. See Freedman, 2016 WL 3196464 at *2.

                                  18           21.    The local rules of this court encourage cooperation among counsel and directs

                                  19   counsel to make reasonable attempts to accommodate schedules. See Middle District Discovery

                                  20   (2015) at 3. To that end, the undersigned has already granted several requests for extension of

                                  21   time in this action for these purposes. See Docs. 24, 51, 54. With respect to Defendants’ instant

                                  22   motion, the undersigned again offered an additional nine days to respond to the second amended

                                  23   complaint. No matter, Defendants seek a 56-day extension, in addition to the 14 days already

                                  24   granted as a matter of right by Rule 15. 70 days of time is not needed to respond to the second

                                  25   amended complaint, the lion’s share of which the court already narrowed considerably.

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                                       MEMORANDUM OF LAW IN OPPOSITION FOR MOTION FOR EXTENSION OF TIME-5
                                       Case No.: 6:16-cv-00970-RBD-TBS
                                       Case 6:16-cv-00970-RBD-TBS Document 81 Filed 05/21/18 Page 6 of 7 PageID 968




                                   1          22.    While Plaintiffs will continue to cooperate and make reasonable accommodations

                                   2   to counsel, it is not reasonable for the court to enter a 56-day extension on the second amended

                                   3   complaint for the reasons identified in Defendants’ motion.

                                   4          WHEREFORE, Relator/Plaintiff, BARBARA BERNIER, and Plaintiff, ESE LOVE,

                                   5   pursuant to Fed. R. Civ. P. 6(b), respectfully request the entry of an order denying the motion for

                                   6   extension of time, or alternatively, granting the motion to the extent of May 30, 2018, as has

                                   7   already been offered to Defendants, INFILAW CORPORATION and CHARLOTTE SCHOOL

                                   8   OF LAW, LLC.

                                   9

                                  10   DATED on May 21, 2018

                                  11
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                                  12                                                Respectfully submitted,
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                                  13                                                WATSON LLP

                                  14

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                                  27

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                                       MEMORANDUM OF LAW IN OPPOSITION FOR MOTION FOR EXTENSION OF TIME-6
                                       Case No.: 6:16-cv-00970-RBD-TBS
                                       Case 6:16-cv-00970-RBD-TBS Document 81 Filed 05/21/18 Page 7 of 7 PageID 969




                                   1                                  CERTIFICATE OF SERVICE
                                   2          I HEREBY CERTIFY that on May 21, 2018, pursuant to Fed. R. Civ. P. 5(d)(3), I filed
                                       the foregoing document electronically with this court’s CM/ECF system, which will serve an
                                   3   electronic copy of the foregoing document on the following counsel of record in this proceeding:
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                                       MEMORANDUM OF LAW IN OPPOSITION FOR MOTION FOR EXTENSION OF TIME-7
                                       Case No.: 6:16-cv-00970-RBD-TBS
